     Case 3:13-cr-04197-L   Document 53   Filed 06/09/14   PageID.122   Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 13CR4197-L

                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
TAMARA ZOOK-CALLAHAN(2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

x    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment/Information:

    21:841(a)(1) and 846 - Conspiracy to Possess with Intent to Distribute
    21:841(a)(1); 18:2 - Possession of Methamphetamine with Intent to
    Distribute; Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 06/03/2014
                                            Barbara L. Major
                                            U.S. Magistrate Judge
